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                                                                             23-mj-5635-JGD

                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Mathias Varga, being duly sworn, depose and state the following:

       1.      I am a Deputy United States Marshal (“DUSM”) with the United States Marshal

Service (“USMS”). I have been employed by USMS since February 2022, and I am currently

assigned to the Boston, Massachusetts office, Judicial Security Unit (“JSU”). I am a graduate of

the Federal Law Enforcement Training Center in Glynco, Georgia, where I received training to

become a federal agent. Prior to my employment as a DUSM, from October 2020 to February

2022, I was employed by the U.S. Department of Labor as an investigator who was responsible

for investigating, among other things, financial crimes. Prior to my employment by the U.S.

Department of Labor, I was employed in other law enforcement capacities. From April 2016 to

December 2019, I was employed as a Deputy Sheriff for Fluvanna County Sheriff’s Office in

Palmyra, Virginia. From March 2014 to April 2016, I was a police officer with the Virginia

Division of Capitol Police in Richmond, Virginia. As part of my current duties, I am authorized

to investigate violations of the laws of the United States, including criminal violations relating to

threats, including but not limited to violations of 18 U.S.C. §§ 875, 876 and 115. I have also

assisted in the execution of several federal search warrants or arrest warrants in connection with

fugitive and other investigations.

       2.      This affidavit is submitted in support of an application for a criminal complaint and

arrest warrant charging Christopher Xavier Brodeur (“BRODEUR”), year of birth 1967, of Dover,

New Hampshire, with violations of 18 U.S.C. § 876(c) (Mailing Threatening Communications).

       3.      The statements contained in this affidavit are based upon my training and

experience, review of records, and discussions and information provided by other law enforcement



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officers familiar with this investigation.

       4.        Since this affidavit is being submitted for the limited purpose of establishing

probable cause to secure a criminal complaint and arrest warrant, I have not included each and

every fact known to me concerning this investigation. I have set forth only the facts that I believe

are necessary to establish the requisite probable cause. Additionally, where conversations and

statements are related herein, they are set forth in substance and in pertinent part.

                                          BACKGROUND

       5.        For security reasons, all deliveries, to include mail delivered by the United States

Postal Service (USPS), addressed to the John Joseph Moakley United States Courthouse in Boston,

Massachusetts (“Moakley”), or any variation of the courthouse name or address, are screened by

USMS Court Security Officers (“CSOs”) prior to entry into the building. The CSOs then route

the delivery of each piece of mail to the party to whom it is addressed. As a matter of normal

practice, any delivery of mail that CSOs deem threatening or otherwise suspicious is given to the

USMS Judicial Security Unit for the District of Massachusetts (“JSU-MA”) for review.

       6.        Beginning in or about May 2023, Moakley CSOs began receiving and therefore

inspecting a large number of USPS-delivered handwritten postcards addressed to a United States

judge 1 who presides over cases at Moakley (hereinafter, “Victim Judge”), which appeared to be

from BRODEUR, based on the fact that his initials, CXB, were listed as the sender. The language

and drawings contained in the postcards included specific references to the Victim Judge,

including referring to the Victim Judge as an enemy, as the #1 threat to public safety, as a “pedo,”

and included drawings containing depictions of Hitler, Stalin, and an individual who is identified

by name as and who resembles the Victim Judge.


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           The Victim Judge’s identity is known to me but redacted here in the interest of his privacy.

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       7.      Following the interception of May 2023 postcards, all future mail deliveries from

BRODEUR to the Victim Judge were intercepted by CSOs upon USPS delivery to Moakley and

forwarded to USMS JSU-MA for review. 2 I am aware that from May 2023 through July 2023,

numerous other postcards addressed to the Victim Judge at Moakley were thereafter intercepted

and reviewed by USMS JSU-MA. Based on the fact that BRODEUR’S initials of “CXB” were

listed in most of the numerous handwritten postcards referenced above, and based on comparison

with other letters described below, all appeared to have the same or similar handwriting and based

on the drawings and statements contained in the postcards, they were intercepted.

       8.      On September 11, 2023, USMS JSU-MA intercepted a handwritten letter addressed

to the Victim Judge at Moakley, which bore a return address of CXB, SCDOC, 266 Country Farm

Road, Dover, NH 03820, which I know to be the address for the Stafford County Department of

Corrections. Furthermore, I know that on that date, as well as the date it was apparently written,

August 13, 2023, Christopher X. BRODEUR was in pretrial custody at SCDOC; his pending

charges included Stalking and Resisting Arrest in Dover (New Hampshire) District Court docket

432-2023-CR-934 and 935; Simple Assault; Physical Contact or BI, and Harassment in

Rockingham County (New Hampshire) Superior Court docket 2018-21-CR-00983; and charges

involving a threat to a local police chief Candia (New Hampshire) District Court docket 422-20-

CR-423.

       9.      The letter consisted of several pages of handwriting, as well as drawings (including

on the front and back of the envelope). The first full page of handwriting bears the date of August

13, 2023. Among other statements in the letter, BRODEUR wrote “…BUT NOT UNTIL WE



       2
         One letter postmarked October 31, 2023 was addressed to the Moakley without reference
to the Victim Judge in the address line.

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LYNCH 100% OF YOU MOBSTERS…WHO ILLEGALLY BLOCK ALL SOLUTIONS CUZ

MONEY, POWER, & YOUR STUPID DICKS are all you rich-kid nepo-baby psychopaths care

about.” There was also a drawing of an individual apparently dressed as “Uncle Sam” hanging

from a noose around his neck.

       10.     On September 27, 2023, CSOs and JSU-MA intercepted another handwritten letter

from BRODEUR that was addressed to the Victim Judge at Moakley, postmarked September 20,

2023, from Manchester, NH. The return address included BRODEUR’s initials and SCDOC’s

address. This letter consisted of several pages of handwriting as well as several cartoon drawings

(including on the front and back of the envelope). The first full page of handwriting bears the date

of September 2, 2023. Two of the cartoons depict the hanging of an individual identified as the

Victim Judge surrounded by George Washington, Thomas Jefferson and Benjamin Franklin.

Above the first of those two particular cartoon drawings contained a thought bubble with the

following phrase: “CITIZENS OF NEW ENGLAND…WE ARE GATHERED HERE

TODAY…TO          SEND      CORRUPT         [VICTIM      JUDGE]       OFF     TO     MEET      HIS

MAKER….SATAN…FOR HIS MYRIAD OF OFFENSES LIKE…”

       11.     On October 16, 2023, CSOs and JSU-MA intercepted another letter from

BRODEUR that was addressed to “Dishonorable [Victim Judge] (the #1 person in America

protecting the church’s systemic pedophelia!!)” at Moakley. The return address was listed as

“MURICA’S #1 POLITICAL PRISONER & WHISTLEBLOWER! CXB SC - D.O.C. 266

COUNTY FARM ROAD DOVER, NH 03820.” There was no postmark on the letter. However,

based on information received from United States Postal Inspection Services, I understand that

orange hash markings on the front and the back of the letter indicate that it was processed by the

USPS. This letter consisted of several pages of handwriting as well as several cartoon drawings



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(including on the front and back of the envelope). The first full page of writing bears the date

October 5, 2023 and includes the following: “I MAY AS WELL E-A-R-N JAIL FOR ONCE, NO?

[By law, I could burn your home or your court – cuz the legal precedence by you & the USSA

Govt is that it’s legal, legit, & heroic…as y’all burned down villages in Vietnam…” On the third

full page of handwriting in that same letter, BRODEUR writes as follows: “I wish I wasn’t so

IMPORTANT artistically & politically, cuz then I could get an AR-15 & DO UNTO YOU

MOBSTERS AS YOU DID UNTO ME & then I could kill myself!!” On the fourth full page of

writing in that same letter, BRODEUR writes as follows: “I will have to get to Boston to smash

out the windows on [Victim Judge]’s courthouse & sleep inside/call 911 for 3 hots & a cot.”

       12.     On November 21, 2023, CSOs and JSU-MA intercepted another handwritten letter

from BRODEUR. This one was addressed to the Boston Federal Court D-I-S-T-R-I-C-T 1

Courthouse Way? Boston MA 02210. The return address was listed as “CXB c/o SC-D.O.C., 266

County Farm Rd., Dover, NH 03820.” This letter consisted of several pages of handwriting, as

well as several cartoon drawings (including the front and the back of the envelope). On the first

full page of writing, BRODEUR identifies himself using his full name along with his initials,

writing: “I, CXB [Christopher Xavier Brodeur]…” On the third full page of writing, BRODEUR

writes, in one section, “YOU’D SHOOT THEM IN THE FACE!” and, in another section, “IF I

WERE NOT AN ANTI-VIOLENCE LIBERAL….I’D KILL 500 KKKOPS AT A POLICE

FUNERAL AND TELL A JURY WHY I DID IT – SEE?!” On the last page of that handwritten

letter, it is signed “xoxo” with his signature.

       13.     On December 11, 2023, CSOs and JSU-MA intercepted another handwritten letter

from BRODEUR that was addressed “To: The #1 THREAT TO PUBLIC SAFETY …& THE

MAN WHO SHOT 18 INNOCENT PEOPLE IN LEWISTON, MAINE … [VICTIM JUDGE]”



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at Moakley and postmarked December 4, 2023, from Manchester, NH. The return address was

listed as “CXB c/o SC-DOC, 266 COUNTY FARM RD, DOVER, NH 03820.” This letter

consisted of several pages of handwriting, some typed paragraphs on several pages, and several

cartoon drawings (including on the front and back of the envelope).3 On the first full page of

handwriting, BRODEUR writes as follows: “…ergo TIME IS RUNNING OUT FOR THE #1

Pedophile on Earth, [Victim Judge].” On the third full page of handwriting, BRODEUR writes as

follows: “I’m coming for the #1 child rapist/neo-nazi/war criminal in USSA HISTORY: [VICTIM

JUDGE]. I’m going back to Jail no matter what.” On that same page, BRODEUR writes: “(Plus,

the longer U sit in Jail the easier it gets, loser.) DO I HAVE TO FLOOD YOUR

COURTHOUSE/HOME nabe WITH CARTOON FLYERS or DOUSE YOU IN URINE or

BREAK YOUR MURDEROUS FACE OPEN? I’m ready to spend the rest of my life in FED

prison. (Plus prison is 98% better than crappy county Jails.) BUT YOU WILL BECOME THE

GOLIATH TO MY DAVID…and all of society will back SUPERMAN(DELA) OVER THE #1

ENEMY OF AMERICA. The choice is yours to make.” On the eighth full page of handwriting

in that same letter, BRODEUR writes: “If I weren’t a pacifist, I’d kidnap & torture you & maim

you and then call 911 on myself. “I just maimed the #1 child rapist/war criminal/mass murderer

on earth!””

       14.     Based on my review of the letters described herein, I submit that there is probable

cause to believe that BRODEUR authored each one.              Specifically, each mailing bears


       3
            The typed portion of the letter consists of pages from a recent order issued by a
Rockingham County, New Hampshire Superior Court Judge. I have reviewed the order from
which these paragraphs were copied, which issued on November 6, 2023 in connection with docket
218-2021-CR-00983 and which included findings that BRODEUR was not competent to stand
trial, not restorable, and not dangerous. The letter includes various instances where BRODEUR,
in handwriting, contests or comments on the substance of the order, referring to himself (the
subject of the order) in the first person.

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BRODEUR’s initials (“CXB”) in the “sender” block along with the address of the facility at which

he was incarcerated at the time the letter was written and/or mailed; his name is written out in full

in the body of at least one of the letters, as outlined above; in the December 4 letter, he extensively

annotates the November 6, 2023 Order on Competency with specifics about his history of

competency evaluations; and he mentions the Rockingham Superior Court Judge who authored

the November 6, 2023 Order on Competency by name in at least one other letter (October 5, 2023).

Furthermore, the distinctive handwriting appears to be the same across all letters, as do the cartoon

illustrations. Finally, I have reviewed a 2020 pro-se handwritten filing by BRODEUR filed in the

U.S. District Court in New Hampshire on September 15, 2020, which contains the initials “CXB”

as well as BRODEUR’s signature. See docket 1:20-CV-00959-PB-AJ. That signature looks

similar to the signature on the bottom of the letter intercepted on November 21, 2023.

       15.     As noted above, Christopher X. BRODEUR was in pretrial custody at SCDOC in

connection with charges in New Hampshire state court during the time frame that the letters

described herein were mailed. I am aware that, following the entry of the November 6, 2023 Order

on Competency, the Rockingham Superior Court dockets were dismissed by nolle prosequi on or

about November 7, 2023, and the Dover District Court docket was dismissed by nolle prosequi on

or about December 11, 2023. 4

                                          CONCLUSION

       16.     Based on the foregoing, I respectfully submit there is probable cause to believe that:

               a.      on or about October 5, 2023, BRODEUR knowingly and willfully caused

       to be delivered by the United States Postal Service according to the directions thereon a



       4
         It is my understanding that the Candia District Court docket is no longer pending, but I
have not yet confirmed the disposition of that case.

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       communication addressed to the Victim Judge, who is a United States judge, at the John

       Joseph Moakley United States Courthouse in Boston, Massachusetts, containing a threat to

       injure the Victim Judge, in violation of 18 U.S.C. § 876(c); and

              b.      on or about December 4, 2023, BRODEUR knowingly and willfully caused

       to be delivered by the United States Postal Service according to the directions thereon a

       communication addressed to the Victim Judge, who is a United States judge, at the John

       Joseph Moakley United States Courthouse in Boston, Massachusetts, containing a threat to

       injure the Victim Judge, in violation of 18 U.S.C. § 876(c).



                                             _________________________________
                                             Mathias Varga
                                             Deputy United States Marshal
                                             United States Marshals Service


Sworn telephonically before me in accordance with Fed. Rule Crim. P. 4.1 this 14th day of

December, 2023.



_____________________________________
HONORABLE JUDITH G. DEIN
UNITED STATES MAGISTRATE JUDGE




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